lN THE UN|TED STATES D|STR|CT COURT
FOR THE EASTERN D|STR|CT OF TENNESSEE
KNOXV|LLE D|VlSlON
SANDRA LOVEDAY, Administrator of the Estate
of BONN|E ELLEN JONES and SANDRA
LOVEDAY, individually and as next of kin and for
the wrongful death of BONN|E ELLEN JONES, PLA|NT|FF
VS. CASE NO: 3:13-cv-00333
SSC ANDERSONV|LLE OPERAT|NG COl\/lPANY
LLC d/b/a NORR|S HEALTH AND
REHAB|L|TATION CENTER,
DEFENDANT
JOlNT ST|PU|=AT|ON OF D|SM|SSAL WlTH PREJUD|CE

Counsel for the parties hereby notify the Court that the Plaintiff and Defendant
have compromised and settled the claims made in the above-styled and numbered cause
against the Defendant, and the P|aintiff has received full accord and satisfaction for all her
claims against said Defendant, and this case should be dismissed with prejudice against
the Defendant. The agreement by counsel for the parties to enter this joint stipulation is
memorialized in the emai| communication attached hereto as Exhibit A.

|T |S THEREFORE ST|PULATED AND AGREED that by and between the parties
and/or their respective counsel that the above-styled and numbered cause should be

voluntarily dismissed with prejudice against the Defendant pursuant to the Federal Rules

of Civil Procedure.

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Respectfu|ly submitted,

SSC ANDERSONV|LLE OPERAT|NG
CO|\/|PANY LLC D/B/A NORR|S HEALTH
AND REHAB|L|TAT|ON CENTER

BY;%/M§éh

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APPROVED BY:

SANDRA LOVEDAY, ADl\/l|N|STRATOR OF
THE ESTATE OF BONN|E ELLEN JONES
AND SANDRA LOVEDAY, |ND|V|DUALLY
AND AS NEXT OF K|N AND FOR THE
WRONGFUL DEATH OF BONN|E ELLEN
JONES

WM let/alt ira MM,,\%€
David E. High‘\)
David E. High, Esquire

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By: U/%MA_M£%¢\ /%‘\ dow

K. Christopher Martin

K. Christopher l\/lartin, Esq.
P. O. Box 584
C|inton, TN 37717

CERT|FICATE OF SERV|CE

|, David M. Eaton, do hereby certify that l have this the 19th day of September,
2014, electronically filed the foregoing Jo/'nt Stipu/ation Of Dismissa/ l/l//'th Prejudice with
the Clerk of the Court using the ECF Filing System which will send notification of such
filing to the counsel of record for all parties to this proceeding:

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By:/s/ David M. Eaton

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